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Debtor 1 FELIX GIRASAKI
First Name Middle Name Last Name
Debtor 2 re
(Spouse, if filing) First Name Middle Name Last Name yw BS ita

United States Bankruptcy Court for the: Eastern District of New York ‘ 9 2G

Case number: 20-70284 . oo 2g 6 zi

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Form 1340 (12/19) > re
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APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS = “alg

1. Claim Information

For the benefit of the Claimant(s)' named below, application is made for the payment of unclaimed funds on deposit with
the court. | have no knowledge that any other party may be entitled to these funds, and | am not aware of any dispute

regarding these funds.

Note: If there are joint Claimants, complete the fields below for both Claimants.

Amount: $20,925

Claimant's Name: FELIX GIRASAKI

FELIX GIRASAKI
Claimant's Current Mailing 28 McLoughlin Street
Address, Telephone Number, Glen Cove NY 11542
and Email Address: 347-228-1788

felixgirasakisaki8B8@gmail.com

2. Applicant Information

Applicant? represents that Claimant is entitled to receive the unclaimed funds because (check the statements that
apply):

Al Applicant is the Claimant and is the Owner of Record? entitled to the unclaimed funds appearing on the records of

the court.
oO Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition,
succession or by other means.

oO Applicant is Claimant's representative (e.g., attorney or unclaimed funds locator).

co Applicant is a representative of the deceased Claimant's estate.

3. Supporting Documentation (Check statement that applies)

XK Applicant has read the court’s instructions for filing an Application for Unclaimed Funds and is providing the required
supporting documentation with this application.

' The Claimant is the party entitled to the unclaimed funds.
* The Applicant is the party filing the application. The Applicant and Claimant may be the same.

3 The Owner of Record is the original payee.
Case 0-2U0-/U204-laS VOC soo Filed O4loizo Entered O4/1o/25 Loi44i1/

4. Notice to United States Attorney (Check statement that applies)

&{ Applicant has sent a copy of this application and supporting documentation to the United States Attorney,
pursuant to 28 U.S.C. § 2042, at the following address:

Office of the United States Attorney
Eastern District of New York
271-A Cadman Plaza East
Brooklyn, NY 11201

5. Applicant Declaration

Pursuant to 28 U.S.C. § 1746, I declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

Date: 4/11/2023

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5. Co-Applicant Declaration (if applicable)

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

Date:

Signature of Applicant

FELIX GIRASAK!

Signature of Co-Applicant (if applicable)

Printed Name of Applicant

Address: 28 McLoughlin Street
Glen Cove NY 11542

Telephone: 347-228-1788

Email: felixgirasakisaki88@gmail.com

Printed Name of Co-Applicant (if applicable)

Address:

Telephone:

Email:

6. Notarization

STATE OF New York

COUNTY OF Nassau

This Application for Unclaimed Funds, dated
4/12/2023 was subscribed and sworn to before
me this_12th day of April , 20_23 by

FELIX GIRASAKI

6. Notarization
STATE OF

COUNTY OF.

This Application for Unclaimed Funds, dated
was subscribed and sworn to before
day of , 20 by

me this

who signed above and is personally known to me (or
proved to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to within the
instrument. WITNESS my hand and official seal.

(SEAL) Notary Public Brake ful >
- BRADLEY f Wet coueaission expires:

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who signed above and is personally known to me (or
proved to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to within the
instrument. WITNESS my hand and official seal.

(SEAL) Notary Public

My commission expires:

Form 1340

Application for Payment of Unclaimed Funds

Page 2

